
*1203In re Bonnet, Ferris; — Plaintiff; Applying For Writ of Certiorari and/or Review, Parish of Lafayette, 15th Judicial District Court Div. J, No. 2007-2529-J; to the Court of Appeal, Third Circuit, No. 08-905.
Writ granted. Upon review, we find that there are genuine issues of material fact which preclude summary judgment at this juncture of the case. Accordingly, the ruling of the trial court granting summary judgment in favor of Sheriff Michael W. Neustrom, in his official capacity as Sheriff of the Lafayette Parish Sheriffs Department, is set aside, and the case is remanded to the trial court for further proceedings.
VICTORY, J., would deny.
TRAYLOR, J., would deny.
KNOLL, J., would deny.
